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AO I06 (Rev. 04/1 0) Application fo r a Search Warrant                                                            FILED
                                         UNITED STATES DISTRICT COURT                                               APR 0 9 2019
                                                                      for the                             Cl. L H."'<:          i_;:c.~ r H·'"'
                                                          Southern District of California
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              In the Matter of the Search of                             )
          (Briefly describe the property to be searched                  )
           or identifY the person by name and address)
    Apple iPhone Cellular Telephone, Model: A1661,
                                                                         )
                                                                         )
                                                                                  Case No.       19 MJ1442
           SIM SN: 8901150327/7124328318                                 )
                                                                         )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location) :

  SEE ATTACHMENT A
                   Southern
located in the --------------- District of          California      , there is now concealed (identifY the
                                           ------------------------
person or describe the property to be seized) :

  SEE ATTACHMENT B

           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                  ~evidence of a crime;
                  ~contraband, fruits of crime, or other items illegally possessed;
                  ~property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
             Code Section                                                         Offense Description
         21 U.S.C. §§ 952, 960                       Importation of Controlled Substances;
         21 u.s.c. § 963                             Conspiracy to Import Controlled Substances

           The application is based on these facts:
         SEE AFFIDAVIT

            0 Continued on the attached sheet.                                              =
            0 Delayed notice::: ~~ days (give exact ending date if more tha 0 days: ________ ) is requested
              under 18 U.S . ~ 103a, the basis of which is set forth on the a ached sheet.

                                     '                                          (j~~           Applicant 's signature

                                                                                      HSI Special Agent Kimberly M. Hesse
                                                                                               Printed name and title

 Sworn to before me and signed in my presence.


 Date:       #/f/11
 City and state: San Diego, CA                                                  Honorable Barbara L. Major, U.S. Magistrate Judge
                                                                                               Printed name and title
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 1                                ATTACHMENT A
 2                         PROPERTY TO BE SEARCHED
 3 The property to be searched is described below:
 4
                      Apple iPhone Cellular Telephone
 5                    Model: A1661
                      SIM SN: 8901150327/7124328318,
 6
                      (the "Target Telephone"),
 7
 8 Currently in the possession of Homeland Security Investigations, 2255 Niels Bohr Court,
 9 San Diego, CA 92154, within the Southern District of California.
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 1                                  ATTACHMENTB
 2                                ITEMS TO BE SEIZED
 3        Authorization to search includes the search of disks, memory cards, deleted data,
 4 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 5 telephone. The seizure and search of the cellular telephone will be conducted in accordance
 6 with the affidavit submitted in support of the warrant.
 7        The evidence to be seized from the cellular telephone will be electronic records,
 8 communications, and data such as emails, text messages, photographs, audio files, videos,
 9 and location data, for the period of December 6, 2017 through March 6, 2018:
10           a. tending to identify attempts to transport methamphetamine and/or
11               cocaine and/or heroin and/or any other controlled substance from the
12               United States to Mexico;
13           b. tending to identify accounts, facilities, storage devices, and/or services-
14               such as email addresses, IP addresses, and phone numbers-used to

15               facilitate the smuggling of methamphetamine and/or cocaine and/or

16               heroin, and/or any other controlled substance from the United States to

17               Mexico;
18           c. tending to identify co-conspirators, criminal associates, or others

19               involved the smuggling of methamphetamine and/or cocaine and/or

20               heroin and/or any other controlled substance from the United States to

21               Mexico;
22            d. tending to identify travel to or presence at locations involved the
23               smuggling of methamphetamine and/or cocaine and/or heroin and/or
24               any other controlled substance from the United States to Mexico, such
25               as stash houses, load houses, or delivery points;
26
27
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 1           e. tending to identify the user of, or persons with control over or access
 2              to, the subject telephone and/or;
 3           f. tending to place in context, identify the creator or recipient of, or
 4              establish the time of creation or receipt of communications, records, or
 5              data involved in the activities described above;
 6 which are evidence of violations of21 U.S.C. §§ 952, 960, and 963.
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 1                  AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
 2         I, Kimberly M. Hesse, a Special Agent with the United States Department of
 3 Homeland Security, Immigration and Customs Enforcement, Homeland Security
 4 Investigations, having been duly sworn, depose and state as follows:
 5                                     INTRODUCTION
 6         1.    This affidavit is made in support of an application for a warrant to search the
 7 following:
                       Apple iPhone Cellular Telephone
 8
                       Model: A1661
 9                     SIM SN: 8901150327/7124328318,
                       (the "Target Telephone")
10
11 as further described in Attachment A, which is currently in the possession of Homeland
12 Security Investigations, 2255 Niels Bohr Court, San Diego, CA 92154, within the Southern
13 District of California, and to seize evidence of violations of federal law, namely
14 21 U.S.C. §§ 952,960, and 963, as set forth in Attachment B.
15         2.    The    Target    Telephone     was   seized   from    Gilberto   GONZALEZ
16 ("GONZALEZ") on March 6, 2018, at the time of his arrest at the Otay Mesa, California
17 Port of Entry for importing 5.74 kilograms (12.65 pounds) of methamphetamine, 7.74
18 kilograms (17.06 pounds) ofheroin, and 12.16 kilograms (26.80 pounds).
19         3.    Based on the information below, there is probable cause to believe that a
20 search of Target Telephone will produce evidence of the aforementioned crimes, as
21   described in Attachment B. I previously obtained a search warrant for the Target
22 Telephone, see 18-MJ-1469 (S.D. Cal.), and seek this authority so that I can again examine
23 its contents, within the requested date range. Except for information below in the section
24 titled "Prior Attempts to Obtain This Evidence," this application and the requested warrant
25 are substantively the same as my March 2018 application.
26         4.    The information contained in this affidavit is based upon my experience and
27 training, and consultation with other federal, state, and local law enforcement agents.
28 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
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 1 Target Telephone, it does not contain all of the information known by me or other federal
 2 agents regarding this investigation, but only contains those facts believed to be necessary
 3 to establish probable cause.
 4

 5                              EXPERIENCE AND TRAINING
 6         5.    I am a Special Agent with the United States Department of Homeland
 7 Security, as a Special Agent for Homeland Security Investigations ("HSI"). I have held
 8 my current position with HSI since September 2016.
 9         6.    I am a graduate of the Criminal Investigator Training Program and the
10 Homeland Security Investigations Special Agent Training Program at the Federal Law
11 Enforcement Training Center ("FLETC"). During the course of my training at FLETC, I
12 learned the fundamentals of how to conduct criminal investigations including, but not
13 limited to, gathering of evidence, preservation of a crime scene, and use of electronic
14 evidence, all in relation to violations of the United States Code.
15         7.    Prior to joining HSI, I was an Assistant Prosecuting Attorney in both Detroit
16 and Lansing, Michigan, for seven years. During my tenure as a prosecutor, I conducted
17 numerous felony jury trials, including but not limited to narcotics trafficking, firearms
18 offenses and homicides.
19         8.    Currently, I am assigned to a Narcotics Group in San Ysidro, California. My
20 duties include the investigation of narcotics-related violations of Title 21 of the United
21   States Code and the California Health and Safety Code. I primarily investigate violations
22 of the United States Code that stem from the international border between Mexico and the
23 United States, including drug smuggling. I have participated in investigating various drug
24 trafficking organizations that are involved in the acquisition, importation, transportation,
25 and distribution of controlled substances into and through the Southern District of
26 California. I have spoken with other agents who have extensive experience in narcotics
27 smuggling investigations. Through my experience and training, I have gained a working
28 knowledge and insight into the normal operational habits of narcotics smugglers, with
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 1 particular emphasis on those who attempt to import narcotics into the United States from
 2 Mexico at the San Diego international ports of entry.
 3         9.       As a Special Agent with HSI and throughout my tenure as a prosecutor, I have
 4 participated in and conducted investigations of violations of various state and federal
 5 criminal laws, including distribution of controlled substances, use of communication
 6 facilities to commit narcotic offenses, importation of controlled substances, and conspiracy
 7 to import, possess and distribute controlled substances. These investigations resulted in
 8 the arrests and prosecutions of individuals who have imported, smuggled, received and
 9 distributed      controlled    substances,   including    cocame,     manJuana,   heroin,   and
10 methamphetamine. Through these investigations, prosecutions and training; I am familiar
11 with the operations of illegal international DTO in various parts of the world, including
12 Mexico.
13         10.      By virtue of my employment as a Special Agent with HSI, I have performed
14 various tasks and training, which include, but are not limited to:
15               a. Functioning as a surveillance agent and thereby observing and recording
16                  movements of persons trafficking in controlled substances and those
17                  suspected of trafficking in controlled substances;
18               b. Interviewing witnesses, cooperating individuals, and informants relative to
19                  the illegal trafficking of controlled substances and the distribution of monies
20                  and assets derived from the illegal trafficking of controlled substances; and
21               c. Functioning as a case agent, which entails the supervision of specific
22                  investigations involving the trafficking of narcotics.
23         11.      Through the course of my training, experience, investigations, and
24 conversations with other law enforcement personnel, I am aware that it is a common
25 practice for narcotics smugglers to work in concert with other individuals and to do so by
26 utilizing cellular telephones, pagers, electronic media storage devices and portable radios
27 to maintain communications with co-conspirators to further their criminal activities. The
28 smuggling and trafficking of narcotics generate many types of evidence including, but not
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 1 limited to, cellular phone-related evidence such as voicemail messages referring to the
 2 arrangements of travel and payment, names, photographs, text messaging, and phone
 3 numbers of co-conspirators. For example, load drivers smuggling controlled substances
 4 across the border are typically in telephonic contact with co-conspirators immediately prior
 5 to and following the crossing of the load vehicle, at which time they receive instructions
 6 on how to cross and where and when to deliver the controlled substance.               Narcotics
 7 smugglers and their organizations use cellular, digital, and satellite telephones, in part,
 8 because these individuals believe law enforcement is unable to track the originating and
 9 destination phone numbers of calls placed to and from cellular, digital, and satellite
10 telephones.
11        12.      Based upon my training and experience as a Special Agent, and consultations
12 with law enforcement officers experienced in narcotics smuggling investigations, I am also
13 aware that:
14              a. Drug smugglers will use cellular telephones because they are mobile and they
15                 have instant access to telephone calls, text, web, and voice messages;
16              b. Drug smugglers will use cellular telephones because they are able to actively
17                 monitor the progress of their illegal cargo while the conveyance is in transit;
18              c. Drug smugglers and their accomplices will use cellular telephones because
19                 they can easily arrange and/or determine what time their illegal cargo will
20                 arrive at predetermined locations;
21              d. Drug smugglers will use cellular telephones to direct drivers to synchronize
22                 an exact drop off and/or pick up time of their illegal cargo;
23              e. Drug smugglers will use cellular telephones to notify or warn their
24                 accomplices of law enforcement activity to include the presence and posture
25                 of marked and unmarked units, as well as the operational status of checkpoints
26                 and border crossings;
27              f. Drug smugglers and their co-conspirators often use cellular/mobile telephones
28                 to communicate with load drivers who transport their narcotics and/or drug
                                                   4
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 1                  proceeds; and
 2               g. The use of cellular telephones by smugglers tends to generate evidence that is
 3                  stored on the cellular telephones, including, but not limited to emails, text
 4                  messages, photographs, audio files, call logs, address book entries, IP
 5                  addresses, social network data, and location data.
 6         13.      Subscriber Identity Module (SIM) Cards also known as subscriber identity
 7 modules are smart cards that store data for GSM cellular telephone subscribers. Such data
 8 includes user identity, location and phone number, network authorization data, personal
 9 security keys, contact lists and stored text messages. Much of the evidence generated by a
10 smuggler's use of a cellular telephone would likely be stored on any SIM Card that has
11 been utilized in connection with that telephone.
12         14.      Based upon my training and experience as a Special Agent, and consultations
13 with law enforcement officers experienced in narcotics trafficking investigations, and all
14 the facts and opinions set forth in this affidavit, I know that cellular/mobile telephones can
15 and often do contain electronic records, phone logs and contacts, voice and text
16 communications, and data such as emails, text messages, chats and chat logs from various
17 third-party applications, photographs, audio files, videos, and location data.             This
18 information can be stored within disks, memory cards, deleted data, remnant data, slack
19 space, and temporary or permanent files contained on or in the cellular/mobile telephone.
20 Specifically, I know based upon my training, education, and experience investigating these
21   conspiracies that searches of cellular/mobile telephones yields evidence:
22               a. tending to identify attempts to import methamphetamine or other controlled
23                  substances from Mexico into the United States and to distribute controlled
24                  substances within the United States;
25               b. tending to identify accounts, facilities, storage devices, and/or services-such
26                  as email addresses, IP addresses, and phone numbers-used to facilitate the
27                  smuggling of methamphetamine or some other controlled substance from
28                  Mexico into the United States;
                                                     5
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 1               c. tending to identify co-conspirators, criminal associates, or others involved in
 2                  smuggling methamphetamine or some other controlled substance from
 3                  Mexico into the United States;
 4               d. tending to identify travel to or presence at locations involved in the smuggling
 5                  of methamphetamine or some other controlled substance from Mexico into
 6                  the United States, such as stash houses, load houses, or delivery points;
 7               e. tending to identify the user of, or persons with control over or access to, the
 8                  subject telephone; and/or
 9               f. tending to place in context, identify the creator or recipient of, or establish the
10                  time of creation or receipt of communications, records, or data involved in the
11                  activities described above.
12                          FACTS SUPPORTING PROBABLE CAUSE
13         15.      On March 6, 2018 at approximately 0700 hours, GONZALEZ, a United States
14 Citizen, attempted to enter the United States from Mexico through the Otay Mesa,
15 California, Port of Entry. GONZALEZ was the driver, sole occupant, and registered owner
16 of a 2014 white Honda Accord bearing a California license plate.
17         16.      A U.S. Customs and Border Protection ("CBP") Officer assigned to the Otay
18 Mesa Port of Entry vehicle Sentri inspection lane made contact with GONZALEZ.
19 GONZALEZ presented a Sentri card as his entry document.                   GONZALEZ gave two
20 negative customs declarations and indicated that he was headed to San Diego. The CBPO
21   queried GONZALEZ in a computer database and received a generated alert. GONZALEZ
22 was referred to the vehicle secondary lot for further processing.
23         17.      At approximately 0706 hours, a CBP Officer assigned to the Otay Mesa Port
24 of Entry vehicle secondary lot screened the white Honda Accord with a Z-portal x-ray
25 machine. The CBPO detected anomalies within the rear driver-side quarter panels, the rear
26 passenger-side quarter panels, and within the back-seat backrest area
27         18.      At approximately 0710 hours, a Canine Enforcement Officer, with an
28 assigned Human/Narcotics Detection Dog, was conducting roving operations at the Otay
                                                      6
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 1 Mesa Port of Entry. The Canine Enforcement Officer was called to the Z-portal to screen
 2 the white Honda Accord. The Detection Dog alerted to a trained odor in the rear passenger-
 3 side quarter panel of the vehicle. The Canine Enforcement Officer notified secondary lot
 4 officers of the alert.
 5         19.    At approximately 0720 hours, a CBP Officer assigned to the Otay Mesa Port
 6 of Entry secondary lot conducted a 7-point inspection on the white Honda Accord. The
 7 Officer discovered nine packages in the right rear quarter panel, six packages in the left
 8 rear quarter panel, two packages on the left side back seat, two packages in the right side
 9 rear back-seat, five packages in the right backrest area of the back-seat, and three packages
10 in the left backrest area of the back-seat. In total, the Officer found twenty-seven packages
11 concealed inside of the vehicle. The CBP Officer field-tested all twenty-seven packages:
12 six blue packages weighing 7.74 kilograms (17.06 pounds) field-tested positive for the
13 characteristics of heroin, ten packages weighing 12.16 kilograms (26.80 pounds) field-
14 tested positive for the characteristics of cocaine, and eleven packages weighing 5. 74
15 kilograms ( 12.65 pounds) field-tested positive for the characteristics of methamphetamine.
16         20.   GONZALEZ was arrested and the Target Telephone was seized from his
17 person.
18         21.   Based upon my experience and investigation in this case, I believe that
19 GONZALEZ, as well as other persons as yet unknown, were involved in the importation
20 of narcotics. Based upon my experience and training, and in consultation with other law
21   enforcement officers experienced in narcotics trafficking investigations, and all the facts
22 and opinions set forth in this affidavit, I also believe GONZALEZ used the Target
23 Telephone to coordinate with co-conspirators regarding the importation and delivery of
24 the controlled substances, and to otherwise further the conspiracy both inside and outside
25 the United States. Further, I believe that information relevant to the narcotics smuggling
26 activities of GONZALEZ and his co-conspirators, such as telephone numbers, made and
27 received calls, contact names, electronic mail (e-mail) addresses, appointment dates,
28 messages, pictures, location data, and other digital information are stored in the memory
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 1 of the Target Telephone
 2         22.   Finally, I know that drug conspiracies require detailed and intricate planning
 3 to successfully evade detection by law enforcement. In my professional training and
 4 experience, this requires planning and coordination in the days and weeks and often months
 5 prior to the event. Additionally, co-conspirators are often unaware of the subject's arrest
 6 and will continue to attempt to communicate with the subject after the arrest to determine
 7 the whereabouts of their valuable cargo. Based on my training and experience, individuals
 8 such as GONZALEZ will attempt to minimize the amount of time they were involved in
 9 their smuggling activities and often times are actually involved for weeks and months
10 longer than they claimed to be involved.         Given those facts, I respectfully request
11 permission to search the Target Telephone for items listed in Attachment B beginning on
12 December 6, 2017, up to and including the entire day ofMarch 6, 2018.
13                                     METHODOLOGY
14         23.   It is riot possible to determine, merely by knowing the cellular telephone's
15 make, model and serial number, the nature and types of services to which the device is
16 subscribed and the nature of the data stored on the device. Cellular devices today can be
,17 simple cellular telephones and text message devices, can include cameras, can serve as
18 personal digital assistants and have functions such as calendars and full address books and
19 can be mini-computers allowing for electronic mail services, web services and rudimentary
20 word processing. An increasing number of cellular service providers now allow for their
21   subscribers to access their device over the internet and remotely destroy all of the data
22 contained on the device. For that reason, the device may only be powered in a secure
23 environment or, if possible, started in "flight mode" which disables access to the network.
24 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
25 equivalents and store information in volatile memory within the device or in memory cards
26 inserted into the device. Current technology provides some solutions for acquiring some
27 of the data stored in some cellular telephone models using forensic hardware and software.
28 Even if some of the stored information on the device may be acquired forensically, not all
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 1 of the data subject to seizure may be so acquired. For devices that are not subject to
 2 forensic data acquisition or that have potentially relevant data stored that is not subject to
 3 such acquisition, the examiner must inspect the device manually and record the process
 4 and the results using digital photography. This process is time and labor intensive and may
 5 take weeks or longer.
 6         24.    Following the issuance of this warrant, I will collect the subject cellular
 7 telephone and subject it to analysis. All forensic analysis of the data contained within the
 8 telephone and its memory cards will employ search protocols directed exclusively to the
 9 identification and extraction of data within the scope of this warrant.
10         25.    Based on the foregoing, identifying and extracting data subject to seizure
11 pursuant to this warrant may require a range of data analysis techniques, including manual
12 review, and, consequently, may take weeks or months. The personnel conducting the
13 identification and extraction of data will complete the analysis within ninety days, absent
14 further application to this court.
15                   PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
16         26.    On March 29, 2018, I obtained a search warrant to search the Target
17 Telephone. See 18-MJ-1469 (S.D. Cal.) That application was based on the same showing
18 of probable cause, and sought the same search authority, as this application. I conducted a
19 review of the Target Telephone, within the authorized date range, and prepared a report
20 identifying items that were subject to seizure. However, I did not digitally "seize" items
21   and prepare an electronic file containing my seizure.
22         27.    Given that the time to inspect the Target Telephone has lapsed since I
23 prepared my report, I seek this authority so that I can re-examine the Target Telephone,
24 for the same date range I previously requested, to digitally seize items subject to seizure. I
25 anticipate seizing digitally the items that I described in my report detailing my prior search,
26 and any items that, with the benefit of additional investigation (e.g., obtaining cell-site data
27 about the Target Telephone) are now understood as evidence falling within the scope of
28 Attachment B.
                                                   9
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 1        28.     I am aware generally of the contents of the Target Telephone that fall within
 2 the authorized date range from my prior search of the device, but I have not relied on any
 3 of that information here.
 4                                       CONCLUSION
 5        29.     Based upon my experience, training, and consultation with other law
 6 enforcement officers experienced in narcotics smuggling investigations, and all the facts
 7 and opinions set forth in this affidavit, I believe there is probable cause to conclude that
 8 the Target Telephone was used to facilitate the offense of importation of controlled
 9 substances. The Target Telephone was likely used to facilitate the offense by transmitting
10 and storing data, which constitutes evidence of violations of 21 U.S.C. §§ 952, 960, and
11 963.
12          30.   Because Target Telephone was seized immediately during the investigation
13 of GONZALEZ's smuggling activities and has been securely stored, there is also probable
14 cause to believe that evidence of the illegal activities committed by GONZALEZ, as
15 described in Attachment B, continues to exist on the Target Telephone.
16          31.   Therefore, I respectfully request that the Court issue a warrant authorizing
17 HSI Special Agents and/or other federal and state law enforcement officers specially
18 trained in digital evidence recovery, to search the Target Telephone, as described in
19 Attachment A, and seize the items listed in Attachment B, using the methodology described
20 above.
21        I swear the foregoing is ~c~est of my knowledge and belief.
22
                                  Kimberly M. Hesse
23                                Special Agent
                                  Homeland Security Investigations
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